 Case 1:20-cv-00033-JAO-RT Document 29 Filed 07/09/20 Page 1 of 2                   PageID #: 264




                                        District of Hawaii




                      Plaintiff




                     Defendant


                                  SUMMONS IN A CIVIL ACTION

(Defendant’s name and address)




                                                         CLERK OF COURT



                                                                Signature of Clerk or Deputy Clerk
Case 1:20-cv-00033-JAO-RT Document 29 Filed 07/09/20 Page 2 of 2                                          PageID #: 265




                                             PROOF OF SERVICE
             (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

                           (name of individual and title, if any)

                     (date)


                                                                    (place)

                                                                               (date)

                                                                                                 (name)



    (date)

                                       (name of individual)

                                                                        (name of organization)

                                                                               (date)




              (specify):




                                                                                  Server’s signature



                                                                                Printed name and title




                                                                                   Server’s address
